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IN THE UNITED sTATEs DISTRICT coURT€ ,iy,,, p'?" 40
FoR THE WESTERN DISTRICT 0F TENNESSE§YFC fifr;@

EASTERN DIVISION §”/5/ §§ch
t ' =e/{SGO f
UNITED STATES or AMERICA
vs CR No. 1;05_10024-01-r
KEiTH RoBleoN
oRDER oN CHANGE oF PLEA

This cause came on to be heard on August 3, 2005, Assistant U. S. Attorney,
Jimmy Croom, appearing for the government, and the defendant appeared in person
and with counsel, M. Dianne Slnothers, who Was appointed

With leave of the Court, the defendant Withdrew the Not Guilty Plea heretofore entered
and entered a plea of GUILTY as charged in Count 1 of the lndictrnent.

This case has been set for sentencing on Mondav . October 3], 2005, at 8:30

The defendant is remanded to the custody of the United States Marshal.
IT IS SO ORDERED.

Z)\M

J ss D. ToDD
TED sTATES DISTRICT JUDGE

DATE: 51 [L¢g,;¢@j_~ ‘BMS

 

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Jirnmy L. Croom

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Honorable J ames Todd
US DISTRICT COURT

